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Exhibit 66
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 Sc
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

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VIDEOTAPED DEPOSITION OF JANET ACKERMAN

WEDNESDAY, MARCH 14, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

Janet Ackerman

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Q. Has anyone ever -- has anyone else opened

the TV to confirm that it contains a CRT?

A. No.

Q. Do you know if CRTs come in different
sizes?

A. I don't know.

Q. Do you know what size CRT's inside your
TV?

A. I don't know.

Q. Do you know who manufactured your TV?

A. Toshiba.

QO. Do you know where the manufacturer

purchased the CRT that went into your product?

A. I don't know.

QO. Do you know where the Toshiba TV was
manufactured?

A. I don't know. -

Q. Do you know who manufactured the CRT that

you believe is inside your Toshiba television?

A. I don't know.

Q. Do you know whether the TV contains a CRT
manufactured by a defendant in this action?

A. I don't know.

Q. Are you aware that there are other

manufacturers of CRTs besides the defendants?

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Janet Ackerman

BARKLEY

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A. I am not sure.

Q. Is it possible that the CRT you believe
contained within your product was manufactured by
someone other than the defendant?

MR. GRALEWSKI: Object to the form of the
question. Lacks foundation.
THE WITNESS: I don't know.

Q. BY MS. FREDA: And if asked by your
counsel, would you be willing to open your TV to
see if it contains a CRT manufactured by a
defendant in this case, and/or determine the size
of the CRT contained in the television?

A. I don't even know how to open it.

Somebody would have to do it, but I would have no

objection.

Q. Okay. Let's mark the next exhibit as 35.
(Reporter marked Exhibit No. 35 for
identification.)

Q. BY MS. FREDA: Ms. Ackerman, do you

recognize Exhibit 35?

A. Yes, it's the manual.

Q. This is the manual that you received in

connection with the purchase --

A. Yes.

Q. -- of your Toshiba television?

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Janet Ackerman

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